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2. Pt-;RSGN REPRt-:st;.\‘rtio
TNW

Browolce, Geno

 

\'OL\CH ER NU.\‘]BER

 

 

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2105-020242-001 -m_l

DEF. NUMBER 5. APPEALS l)K'I`..'DEF. NUMBER

o. OTttF.R nKHm-ll¥a

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U.S. v. Brownlcc

lCast: Name)

 

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!i. PAYMEN'I` CATECORY

o. Tvt't; reosur\' Rt;PRF.st:NTEo
Adult Det`endanr

 

 

 

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l) 13 922G. F ~- UNLAWFUL TRANSPORTf

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ll. §§II$([)`I}'TI%\!;'SG|\:"AII)\[I)F]§RE(§§H| Nante, M.l., l.att Narne. including an

CHASTAIN, AUTUMN
707 ADAMS AVENUE
MEMPHIS TN 38103

Telcphoue Nutnbet: (901) 521`4001

y_;ui`i`l!l ll COURT ORDER

m 0 Appoioting Counsel m
E] F Suhs Ft)r chcral Delender
m P Suhs Fnr Pane| Attorney

i'rior Atlorney's Name:

C Co-Connsel

l:l \' Standhy Counsel

 

Appointtnent Date:
%Because the above-named person represented has testified under oath or has
l

 

14. .\`AME .-\ND MAILING ADDRESS OF LAW FlRM tnnl_v pro

attorney whose name appears in item ll is appointed
videpcrinslructions) or

ij outer ts

 
  
 

Signalure 0 Presiding .ludicial Oflicer or By t)rder ol`the Court
t'W/l Ql') 1105

Dale ofOrder Nunc l’ro 'l`unc E)ate

 

time ol'appointment. i:] Y`ES 13 NO

W/DOF'YN,M*

Ei R Suhs Fnr Relained Attorltey

herwlse sati!lied this court that lie or she {I) is financially unable to employl counsel and
(Z) does not wish tn waive counse|, and because the interests oliustiee so require, the
presentthis person in this case.

Repayment or partial repayment ordered from the person represented furthis ser\ice at

    

 

i; ._ = _ct,AiM ron sounds A.N_i) analyses 1

     

 

CATECORIES (Attach itemization of services with dates)

TOTAL M AT}lfl`ECH
AMOUNT ADJUSTED
CLAIMED llOURS

MA"I`H{I"ECH
ADJUSTED
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HOURS
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15, a. Arraignment and/or l’lca

   

 

b. Bail and l)etention Hearings

 

 

 

c. Motion l-learings

 

 

 

d. Trial

 

 

 

e. Sentencing Hearings

f`}=""

 

 

 

l’. Revocatlon Hearings

 

 

 

--1:

g. Appeals Court

 

 

 

h. Other (Specil`y on additional sheets)

 

 

 

(Rate per hour = 5 )

TOTALS:

 

a. Interviews and Conferences

 

b. Ohtalning and reviewing records

 

 

 

c. Legal research and brief writing

 

 

 

d. 'I`ravc| time

 

 

 

c. lnvestigativc and Other work

[Spet:ii'y no additional sheets`|

 

._.._.._D.Q

CmPMM‘s to 1= ha

 

 

 

(Rate per hour v 5 )

TOTALS:

 

l7. Travel Expenses

   

(lodging, parking, mea|s, mileage, etc.)

 

 

 

 

 

 

Other Expeoses

  

 

 

 

    

 

 

 

- <

 

FROM TO

19. CERT[F[CAT|ON OF ATTORNEY»'PAYEE FOR THE PER.IOD 0 F SERV|CE

 

20. APPO|NTMENT TERMINAT]ON DA'I`E 21.
lF OTHER THAN CASE COMPLET|ON

 

 

CASE DESPO SlTIO]\l

 

22. CLAIM STATUS m Fina| l‘ayment ij interim Paym

represe ntation'.’

ij YES |:i NO

Signature o[ Atturnea‘:

l-la\'e you previously applied to the court ftr compensation and.'or remimhursetnent for this taie?

Ottter than from the court. have you` or to your knowledge has anyone elae. received payment (compenution nr anything or value] from any other source in connection with this
ll' yes‘ give details nn additional sheets.

I swear or affirm the truth or correctness ofthe above statements

ent N\lmber \:i Supplemental Paymeot

i:i YI'.`.S m NO lf)'e!. were you paid'? i:i YES

Date:

 

 

l:iNO

 

 

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' APPRGV_ED maPAYotENT»-'couk'r,us_t;`tmw f j; »;,; `

 

 

231 lt\` COURT COMP. 24. OUTOF COURT COMP.

25. TRAVEL EXPENSES 26. OTHE.R EXPENSES

27\ TOTAL AMT. t\PPR l' CERT

 

28. S[GNATL'RF. OF THE PRESID].\'G JUDICIM. OFF|CER

D.»\TE lel.

.IUDGE l MAG. .ll![)CE CD[}E

 

191 lN C()URT CO.\]P. Sll. OU'I` OF COUR'F CO.\'lP.

 

31. 'I`RAVEL EXPE.\'SES 31. O'l`lii'lR HXPENSES

 

33\ TOTAL AMT. APPRO\'ED

 

approved in excess nfthe statutory threshold attloun .

 

34. SlGNATURE OF Clill'lF JUD(; E, COURT ()F` APP EA].S {()R DEI.EGATF.) l’a_vmeot

l)A"l`l'l

 

 

34a. JL'D(}E CO[)E

 

 

This document entered on the docket§ eat compliance
with Flule 55 and/or 32(b) FFlCrP on § §§ "0§5

  
 

 

UNITED S`AsTE DRISTIC COURT - WEERST DISTRICT TENNESSEE

 
 

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This notice confirms a copy of thc document docketed as number 9 in
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Stephcn P. Hall

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Honorable J on McCalla
US DISTRICT COURT

